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1
      Debbie P. Kirkpatrick, Esq. (SBN 207112)
      Damian P. Richard, Esq. (SBN 262805)
2     SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
3     1545 Hotel Circle South, Suite 150
      San Diego, CA 92108
4
      Tel: 619/758-1891
5     Fax: 619/296-2013
6
      dkirkpatrick@sessions.legal
      drichard@sessions.legal
7     Attorneys for Defendants Bleier & Cox, APC, and
8     National Collegiate Student Loan Trust 2004-1
9
      Joshua B Swigart, Esq. (SBN 225557)
10    HYDE AND SWIGART
      2221 Camino Del Rio South Suite 101
11
      San Diego, CA 92108
12    Tel: 619/233-7770
13
      Fax: 619/297-1022
      josh@westcoastlitigation.com
14
      Attorneys for Plaintiff Denise Didario
15
                          UNITED STATES DISTRICT COURT
16

17                       CENTRAL DISTRICT OF CALIFORNIA
18    DENISE DIDARIO f/k/a, DENISE M. )               Case No. 16-CV-7168-FMO-MRW
19
      KORD,                           )
                                      )               STIPULATION TO DISMISS
20                      Plaintiff,    )
21         vs.                        )
                                      )
22
      BLEIER & COX, APC; and          )
23    NATIONAL COLLEGIATE             )
24
      STUDENT LOAN TRUST 2004-1, a )
      Delaware Statutory Trust,       )
25                                    )
26                      Defendants.   )
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                                       Stipulation to Dismiss

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1
            Plaintiff Denise Didario and Defendants Bleier & Cox, APC, and National

2     Collegiate Student Loan Trust 2004-1through their designated counsel of record,
3
      hereby stipulate and agree that the above-captioned action be dismissed with
4

5     prejudice pursuant to FRCP 41(a)(1).
6

7
      Dated: 3/15/2017               SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
                                     /s/Damian P. Richard
8                                    Damian P. Richard
9                                    Attorneys for Defendants
                                     Bleier & Cox, APC, and
10
                                     National Collegiate Student Loan Trust 2004-1
11

12
      Dated: 3/15/2017               HYDE & SWIGART
13                                   /s/Joshua B. Swigart
14                                   Joshua B. Swigart
                                     Attorneys for Plaintiff
15
                                     Denise Didario
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                                       Stipulation to Dismiss

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